       Case 4:06-cr-00051-CW    Document 60          Filed 06/07/06                 Page 1 of 1



1    J. FRANK McCABE (SBN 48246)
     500 Sansome Street, Suite 212
2    San Francisco, California 94111
     Telephone: (415) 397-1757
3    Facsimile: (415) 433-7258
4    Attorney for Defendant
     KEVIN THOMPSON
5
6
7                       IN THE UNITED STATES DISTRICT COURT
8                     FOR THE NORTHERN DISTRICT OF CALIFORNIA
9                                   OAKLAND DIVISION
10   UNITED STATES OF AMERICA,          )            NO. CR 06-0051 CW
                                        )
11               Plaintiff,             )            ORDER PERMITTING DEFENDANT
                                        )            THOMPSON TO TRAVEL OUTSIDE
12        v.                            )            NORTHERN DISTRICT OF
                                        )            CALIFORNIA
13   KEVIN THOMPSON, et al.,            )
                                        )
14               Defendants.            )
                                        )
15
16               GOOD CAUSE appearing therefor,
17               IT IS HEREBY ORDERED that defendant Kevin Thompson may
18   travel to San Bernardino County, California, to teach at a church
19   camp between July 16 and 31, 2006.
                                                         S DISTRICT
20                                                    ATE           C
                                                     T
                                                                               O
                                                 S




                                                                                U
                                              ED




                                                                                 RT




21   DATED:    June 7, 2006.                                             D
                                                                    RDERE
                                          UNIT




                                                          OO
22                                                 IT IS S
                                                                                        R NIA




                                                                            razil
23                                                                  yne D. B
                                            NO




                                                                a
                                                        Judge W
                                                                                        FO
                                            RT




24
                                                                                    LI




                                                   ER
                                               H




                                                                                A




                                                        N                           C
                                                                               F
25                                                          D IS T IC T O
                                                                  R
26                                      HON. WAYNE D. BRAZIL
                                        UNITED STATES MAGISTRATE JUDGE
27
28
     ORDER PERMITTING DEF THOMPSON TO TRAVEL
     OUTSIDE NORTHERN DISTRICT OF CALIFORNIA
